        Case
         Case1:19-cv-07024-LAP
              1:19-cv-07024-LAP Document
                                 Document135-1
                                          136 Filed
                                               Filed02/17/23
                                                     02/16/23 Page
                                                               Page11ofof33




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 JOANNE JAFFE,

         v.                                            Docket No. 19-cv-07024 (LAP)

 CITY OF NEW YORK, MAYOR BILL DE                       CIVIL CASE MANAGEMENT AND
 BLASIO, and POLICE COMMISSIONER                       SCHEDULING ORDER
 JAMES O’NEILL




LORETTA A. PRESKA, United States District Judge:



        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.

Civ. P. 26(f)(3).


        1.     All parties do not consent to disposition of this case by a Magistrate Judge,

pursuant to 28 U.S.C. § 636(c).

        2.     The parties expect that this case is to be tried by a jury.

        3.     Amended pleadings may not be filed and additional parties may not be joined after

February 14, 2020 except with leave of the Court.

        4.     Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later

than April 1, 2023.

        5.     All fact discovery shall be completed no later than August 25, 2023.

        6.     The plaintiff shall provide HIPAA-compliant medical release forms by October 1,

2020.
        Case
         Case1:19-cv-07024-LAP
              1:19-cv-07024-LAP Document
                                 Document135-1
                                          136 Filed
                                               Filed02/17/23
                                                     02/16/23 Page
                                                               Page22ofof33




        7.      The parties are to conduct discovery in accordance with the Federal Rules of Civil

Procedure and the Local Rules of the Southern District of New York. The following interim

deadlines may be extended by the parties on consent without application to the Court, provided

that the parties meet the deadline for completing fact discovery set forth in ¶ 5 above.

                a.     Initial requests for production of documents pursuant to Fed. R. Civ. P. 34

                       shall be served by June 20, 2022.

                b.     Interrogatories shall be served by June 20, 2022.

                c.     Document productions shall be completed no later than April 14, 2023.

                d.     Depositions shall be completed by July 14, 2023.

                e.     Requests to admit pursuant shall be served by July 28, 2023.

        8.      Expert Discovery

                a.     The parties do not expect that there will be expert testimony.

        9.      Motions for summary judgment, if any, shall be filed no later than September 22,

2023. Responses, if any, shall be filed no later than October 20, 2023, with replies due November

3, 2023.

        10.     Counsel for the parties have conferred and their present best estimate of the length

of trial is 5 days.




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         Case1:19-cv-07024-LAP
              1:19-cv-07024-LAP Document
                                 Document135-1
                                          136 Filed
                                               Filed02/17/23
                                                     02/16/23 Page
                                                               Page33ofof33




Counsel for the parties:

 LEWIS BAACH KAUFMANN                       HON. SYLVIA O. HINDS-RADIIX
 MIDDLEMISS PLLC                            Corporation Counsel of the City of New York

 By: /s/ John W. Moscow                     By: /s/ Lawrence J. Profeta
     John W. Moscow                             Lawrence J. Profeta, Assistant
                                                Corporation Counsel
 LA PIETRA & KRIEGER, P.C.
                                            Counsel for Defendants
 By: /s/ Louis C. La Pietra
     Louis C. La Pietra

 Counsel for Plaintiff




SO ORDERED.



        2/17/2023
Dated: ______________                                __________________ ________
New York, New York                                   LORETTA A. PRESKA
                                                     United States District Judge




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